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U.S. COURTS
Name: Josephine Guion APR 30 2018
Address: P.O. Box 85 Payette, ID 83661 Revd____—Filet_Time
Telephone: (720) 206-7932(cell #) CLERK, bist ENON 0
UNITED STATES DISTRICT COURT FOR THE
DISTRICT COURT OF IDAHO

Josephine Guion

(Full Name)
PLAINTIFF CIVIL RIGHTS COMPLAINT
vs. (42 U.S.C § 1983, § 1985)
Board of Directors,
Bonner Homeless Transitions CIVIL NO. 7°\6 -CV- |¢¥ - DCN

 

(Formerly Transitions In Progress Services(T.LP.S.)

 

DEFENDANTS

 

A. JURISDICTION
1. Jurisdiction is proper in this court according to:
a. Y42U.S.C. Statute 1983
b._42 U.S.C. Statute1 985

c._ W742 Other(Please Specify) ¥2 ust Sarat 3ol2AATI-RefiLsatiow Pewvisyan )
FUSE. STATE 362! 0 ory -

2. NAME OF PLAINTIFF _Josephine Guion
IS A CITIZEN OF THE STATE OF Idaho

PRESENT MAILING ADDRESS: P.O. Box 85 Payette, ID 83661
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NAME OF FIRST DEFENDANT /7742y Do A Bn oSAin/
IS A CITIZEN OF 206 W/. th AVG #/60 LOBOX16 $2 Sretopotell, ID £3 My
(City and State)
Ano oF Dingcjons Borst. Hanes lies Teves es (Foamoahy
IS EMPLOYED AS atenres/ Tors [wt fron ess SOnvics(F.1, RS))
(Position and Title if Any) (Organization)
Was the defendant acting under the authority or color of state law at the time these
claims occurred?

YES ___NO_1 If your answer is "YES" briefly explain.

 

 

 

NAME OF SECOND DEFENDANT 4vv_G6/1R) JG

 

 

 

 

(if applicable)
IS A CITIZEN OF 206 1. %) Avge Z/60 £°0 0x 1692 SaapowntT, ZO 83 $64
Board OF Diacfons Boman Homeless Tans Tors (Foawgaly
IS EMPLOYED AS_V/cé- Seatio qv at Zens) Tores (nm, Paveneus Souvrces(T1£5))
(Position and Title if Any) (Organization)
Was the defendant acting under the authority or color of state law at the time these
claims occurred?

YES ___NO_ If your answer is "YES" briefly explain.

 

 

 

NAME OF THIRD DEFENDANT_/&G6 y_£/66/w/5S -OpcTeze
(if applicable)

IS A CITIZEN OF 206 /. 444 Aunmer #160 /o-foox 1692 Svopyny Zo ¥3¢by
(City and State) ”
Case 2:18-cv-00186-DCN Document 2 Filed 04/30/18 Page 3 of 42

onan OF DiesxcTars Levmr. HlarrBKS. Fires Tarts (Famenly

IS EMPLOYED AS40402 /fcrrv3Ghe art [os Pegna § Sguviecs CTL LSD)
(Position and Title if Any) (Organization)
Was the defendant acting under the authority or color of state law at the time these
claims occurred?

YES ___ NO. If your answer is "YES" briefly explain.

 

 

 

6. NAME OF FOURTH DEFENDANT.

 

 

(if applicable)
IS A CITIZEN OF
(city and State)
IS EMPLOYED AS at
(Position and Title if Any) (Organization)
Was the defendant acting under the authority or color of state law at the time these
claims occurred?

YES ___NO__.. If your answer is "YES" briefly explain.

 

 

 

(Use additional sheets of paper if necessary.)

B. NATURE OF CASE

lL, Why are you bringing this case to court? Please explain the circumstances that led to the

problem. ;
J Violtians OF pry Ciyil RIGHTS, unite he frye Hpusir© ACT, CNC.,

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orwnet~ Sonrw?é fanned pv Co -CorSimnATons , Gh.
Case 2:18-cv-00186-DCN Document 2 Filed 04/30/18 Page 4 of 42

4B) VitaTion$ OF yng Cyl LUCE, Ursin. Te fun Nasi Act , fau
Disha raion , Cor SPRAY 5 (ALGUGT ) GThr, ZINE OF QE beg Toyjplocd , GTe.

3) WolsTivus oF gay Civil RIGHTS Grif me Fra. hfgrsirse MAT»

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C. CAUSE OF ACTION

T allege that my constitutional rights, privileges or immunities have been violated and that the
following facts form the basis for my allegations: (If necessary you may attach additional

pages)
a © Coutt Lee mo Lstile Lovsine GartropornresilP

(2) Supporting Facts: (Describe exactly what each defendant did or did not do.
State the facts clearly in your own words without citing legal authority or

arguments.)

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(2) Supporting Facts: LAvGaA~ honcan Toanne Granted
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c. (1) Count I: LifEttional Lifllichod of Gmoutiwral gd) STREL

 

(2). Supporting Facts; 2260p, hace Drarot Laren psTetional
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D. INJURY

1. How have you been injured by the actions of the defendant(s)? 2 0.49.80 frorn~ pratiphe
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1, Have you filed other lawsuits in state or federal court that deal with the same facts that are
involved in thi action or otherwise relate to the conditions of your imprisonment? YES_
—/NO_Y . If your answer is "YES," describe each lawsuit. (if there is more than one
lawsuit, describe additional lawsuits on additional separate pages, using the same outline.)

a, Parties to previous lawsuit:
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HOUSING DISCRIMINATION
COUNT I: RACE and HOSTILE HOUSING ENVIRONMENT

1. I state a claim respectfully, that | am suing under the Fair Housing Act, 42 U.S.C. §
3613(a)({1(B))(b(1))(c(2)), the Civil Rights Act under 1866, 1964(42 U.S.C. § 2000d et seq), 42 U.S.C. §
1981, 42 U.S.C. § 1983, 18 U.S.C. § 241; Requesting a jury trial, against the Board of Directors, of the
Bonner Homeless Transitions Transitional Housing Program(Formerly Transitions In Progress
Services(T.I.P.S.)), under 24 C.F.R. § 100. 7(a){i)(ii)(iii)(b), and 42 U.S.C. § 1986, 18 U.S.C. § 241; For Race
Discrimination, and Hostile Housing Environment by Board of Directors President Mary Jo Ambrosaini,
Joanne Barlow, Program Manager at the Bonner Homeless Transitions(Formerly T.I.P.S.) Trestle Creek
Community/Holland House property, under 18 U.S.C. § 241, 42 U.S.C. § 1985(3), 42 U.S.C. § 1986, 28
U.S.C. § 4101(1)(2), and co-conspirators former T.I.P.S. Participants/Holland House residents Bonnie
Edgecomb and Michelle “Shelley” Lang under 18 U.S.C. § 241, 42 U.S.C. § 1985(3), 28 U.S.C. § 4101(1)(2)
; For violations of my Constitutional and Civil Rights, under the Civil Rights Act(CRA) of 1866, 1964( 42
U.S.C. § 2000d et seq), 42 US.C. § 1981, and 42 U.S.C. § 1983; The Fair Housing Act(FHA) under 42
U.S.C. § 3604(b), and 42 U.S.C. § 3617(Including 24 C.F.R. §§ 100.400(a)(b)(c)(2)(4-6)); Based on Race,
Black/African American. |

In support of the above stated claim, | offer the following facts:

2. I state a claim that | became a participant in the 2-year T.I.P.S. Transitional Housing Program in July
2013, and resided in Holland House on the T.I.P.S. Trestle Creek Community/Holland House property,
and that in January2014, | sustained a workplace injury that became a documented permanent physical
disability in March2014.

3. I state a claim under 42 U.S.C. § 2000d et seq, 42 U.S.C. § 3604(b), that in October2013, my civil
rights were violated because of my race by Gina Gingham, the interim T.I.P.S. Program Manager at the
Trestle Creek Community/Holland House property. When Gingham, met me for the first time, she asked
me why | was living in North Idaho, and if | would be more comfortable with other African Americans

living in the Spokane area.
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4, | state a claim under 42 U.S.C. § 2000d et seq, 42 U.S.C. § 3604(b), 42 U.S.C. § 3617, that in
November2013, my civil rights were violated because of my race by Joanne Barlow, the new T.1.P.S.
Program Manager at the T.I.P.S. Trestle Creek Community/Holland House property, when she tried to
coerce me into leaving the T.I.P.S. Transitional Housing Program, because | was being oppressed by
white people. When Barlow met me for the first time, she asked “Why are you, an African American
doing in North Idaho?” “Don’t you feel oppressed by how white people treat you?” “Don’t you feel
oppressed living in North Idaho?” “i’m from the ‘South’ and | know how African Americans feel being
oppressed about living in places like this, where there are not large African American populations.”
Program Manager Barlow then said “Aren’t you ready to leave this place?” “Don’t you feel oppressed
living here? Wouldn't you feel better living somewhere else, with your own kind?” After her talk with
me, Program Manager Barlow began pressuring me almost weekly about finding another place to live.
5. | state a claim under 42 U,S.C. § 2000d et seq, 42 U.S.C. § 3604(b), 42 U.S.C. § 3617, that in
February2014, Program Manager Barlow violated my civil rights because of my race, when she tried to
coerce me to move into a dilapidated, one-room shack rental, that Barlow showed me pictures of on her
office computer, in Holland House, insisting that | move into the available rental right away. | refused.
6. I state a claim under 42 U.S.C. § 2000d et seq, 42 U.S.C. § 3604(b), 42 U.S.C. § 3617(Including 24
C.F.R. §§ 100.400(a)(b)(c)(2}(4-6)), 18 U.S.C. § 241, 42 U.S.C. § 1985(3), 42 U.S.C. § 1986, 28 U.S.C. §
4101(1)(2), that after | refused to move out of Holland House in February2014, Program Manager
Barlow recruited co-conspirators, T.1.P.S. Participants/Holland House residents, Bonnie Edgecomb, and
. Michelle “Shelley” Lang, to help her force me out of the T.I.P.S. Transitional Housing Program because of
my race, that started from March2014-thru-July2015:
7. [state a claim under 42 U.S.C. § 2000d et seq, 42 U.S.C. § 3604(b), 42 U.S.C. § 1985(3), 42 U.S.C. §
1986, and Hostile Housing Environment from March-thru-May2014, that my civil rights were violated
because of my race by T.1.P.S. Participant/Holland House resident Bonnie Edgecomb, began harassing
me, trying to bait me into reacting to her: (1) Saying racially disparaging remarks about me “eating
beans and cornbread” “wearing a rag to cover my nappy hair” and “Listening to that black shit(music).”

(2) Harassing me while | was cooking my food on the stove, standing at the stove staring me down, not
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moving until | was finished cooking my food before she turned around and left the kitchen ; (3) Standing
next to me at the stove while | was cooking my food, and deliberately reach across in front of me,
intentionally letting her shirt sleeve and/or sleeve of her sweater that she was wearing, dip into my
uncovered food, trying to get me to react to her, etc. ; (4) { bought a portable double burner, and a
microwave oven to use on my assigned counterspace area, to avoid being harassed by Bonnie when
cooking at the stove, and whenever possible, | made an effort to avoid being around Bonnie in the
kitchen ; (5) Bonnie started leaving me accusatory notes of made-up offenses, to bait me into reacting
to her, etc. | complained repeatedly to Program Manager Barlow about Bonnie harassing me.

8. | state a claim under 42 U.S.C. § 2000d et seq, 42 U.S.C. § 3604(b), 42 U.S.C. § 1985(3), 42 U.S.C. §
1986, that on Thursday 29May2014, my civil rights were violated by Bonnie because of my race, after
another incident of harassment involving a note from Bonnie. in witness statements from T.I.P.S.
Trestle Creek property Caretaker couple Tammy Johnson and her husband Kelly---Tammy Johnson’s
witness statement: Bonnie said to me, “ | left that note on purpose to piss Jo off. | hope she gets get
kicked out. I’m so tired of that little nigger!” Kelly’s witness statement: “I only caught the tail-end of
Bonnie talking to Tammy, but she said the n-word. 1 knew she was talking about you.” | complained to
Program Manager Barlow about Bonnie’s harassment.

9. | state a claim under 42 U.S.C. § 2000d et seq, 42 U.S.C. § 3604(b), 42 U.S.C. § 1985(3), 42 U.S.C. §
1986, 28 U.S.C. § 4101(1)(2), and Hostile Housing Environment, that on Friday 30May2014, my civil
rights were violated because of my race, when Bonnie verbally attacked me, following me out of the
kitchen and up-the-stairs behind me saying repeatedly “You have mental problems. You're always
angry. You don’t belong here. Nobody wants you here. | belong here, | don’t want you here. You need
to leave. You need to go back where you came from.” When! got to my room door, Bonnie turns
around and goes back downstairs. | contacted Program Manager Barlow, and complained to her about
what Bonnie said to me.

10. I state a claim that on Monday 02 June2014, | submitted to Program Manager Barlow, a formal
grievance of racial discrimination against Bonnie, which Barlow submitted to the T.LP.S. Board of

Directors.
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11. | state a claim under 42 U.S.C. § 2000d et seq, 42 U.S.C. § 3604(b), 42 U.S.C. § 3617(Including 24
C.F.R. §§ 100.400(a)(b)(c)(2)(4-6)), and Hostile Housing Environment, that on Friday 27June2014
Program Manager Barlow, violated my civil rights because of my race, taking away my right to engage in
a protected activity, when | wanted to find out the process for filing a race discrimination complaint with
the Housing Agency. Barlow refused to give me the contact information for the Housing Agency, that
was not posted on the bulletin board outside of her office in Holland House. Barlow threatened to have
harassment charges brought against me if | contacted the Housing Agency, etc.(Please See COUNT Ill:
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS # 2)

12. | state a claim under 42 U.S.C. § 2000d et seq, 42 U.S.C. § 3604(b), 42 U.S.C. § 1985(3), 42 U.S.C. §
1986, that after Bonnie moved out of Holland House in July2014, into her own nearby apartment, and
was no longer a T.1.P.S. Participant, my civil rights, and my right to exercise of full enjoyment and use of
the kitchen facilities, etc., at Holland House, continued to be denied to me because of my race when
Program Manager Barlow, deliberately violated the “T.1.P.S. Transitional Housing Program Guest
Handbook.{ the “Visitors” section states “No guests allowed on the Trestle Creek Property after 8pm,
and no overnight guests, which is strictly prohibited at Holland House.”). From August-thru-Jul72015,
former T.I.P.S. Participant Bonnie, was encouraged by Barlow, to stay beyond the 8pm curfew as
Sheliey’s guest, which extended to Bonnie spending the nights with Shelley during week, to staying the
entire weekends with Shelley, which gave Bonnie opportunities to continue her racially motivated
harassment against me, in spite of complaints from myself, and the on-site Caretakers, to Barlow about
Bonnie being at Holland House causing trouble, etc.

13. I state a claim under 42 U.S.C. § 2000d et seq, 42 U.S.C. § 3604(b), 42 U.S.C. § 1985(3), and Hostile
Housing Environment, that former T.I.P.S. Participant Bonnie, visiting with Shelley, comes into the
kitchen with Shelley, and make racially disparaging remarks to Shelley about me loud enough for me to
hear through my ear buds, saying “Il bet she’s listening to jungle music...” then Bonnie starts making
sounds like a monkey, in front of me, etc.

14. | state a claim under 42 U.S.C. § 2000d et seq, 42 U.S.C. § 3604(b), 42 U.S.C. § 1985(3), and Hostile

Housing Environment, that from July-thru-November2014, Shelley violated my civil rights because of my
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race, when she began harassing me, trying to bait me into reacting to her, doing things such as; 1) Large
puddles of dishwasher gel on my assigned counterspace area, on several occasions watching me clean it
up, etc. ; 2) On Saturday 15November 2014, as 1 was moving towards the kitchen sink, Shelley comes
into the kitchen, and she comes towards me with a hostile expression on her face, her hands balled into
fists, stops about a foot from me, | thought Shelley was going to hit me, but she turns around and leaves
the kitchen. ; 3) 20 minutes later, | was at the sink washing/rinsing my dishes, after preparing my meal,
listening to music with my ear buds, when Shelley comes up from behind me and without warning, she’s
trying to grab the neck of the faucet out of my right hand with one hand, and trying to push my left hand
off the hot water knob with her other hand. Not saying anything to Shelley, | regained control of the
faucet and hot water knob, then Shelley leans down and yells in my ear “You bitch!!” She slams the
cabinet doors, as she stalks out of the kitchen. A moment later, | hear Shelley talking to Bonnie, wanting
her to come over. Upstairs in my room, | call Program Manager Barlow, but she does not answer. |
called the on-site Caretaker Kelly, and | told him what happened. | typed up an incident report of the
harassment and slipped it under Barlow’s office door.

15.. I state a claim under 42 U.S.C. §2000d et seq, 42 U.S.C. § 3604(b), 42 U.S.C. § 3617(Including 24
C.F.R. §§ 100.400(a)(b)(c)(2)(4-6)), 18 U.S.C. § 241, 42 U.S.C. § 1985(3), 42 U.S.C. § 1986, 28 U.S.C. §
4101(1)(2), and Hostile Housing Environment, that on Thursday 20November2014, Program Manager
Barlow violated my civil rights because of my race, tried to deprive me of my freedom, when she and co-
conspirator Shelley, conspired to fabricate an allegation of assault, Barlow saying that | was responsible
for threatening, intimidating and physically attacking Shelley, from the incident that occurred on
15November2014. Barlow used that allegation as extortion to force me into leaving the T.1.P.S. Program
on my own, or be arrested and then evicted by the Board of Directors, etc(Please see COUNT Ill :
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS # 3).

16. I state a claim under 42 U.S.C. § 2000d et seq, 42 U.S.C. § 3604(b), 42 U.S.C. § 3617(including 24
C.F.R. §§ 100.400(a)(b)(c)(2)(4-6)), 18 U.S.C. § 241, 42 U.S.C. § 1985(3), 42 U.S.C. § 1986, 28 U.S.C. §
4101(1}(2), and Hostile Housing Environment, that on Monday 24November2014, | went over Program
manager Barlow’s head and faxed a letter to the T.I.P.S. Board of Directors President Mary Jo
Ambrosaini, complaining to her about Barlow, Shelley and former T.LP.S. Participant Bonnie, conspiring

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against me to force me out of the T.I.P.S. Program, etc.

17. I state a claim under 42 U.S.C. § 2000d et seq, 42 U.S.C. § 3604(b), 42 U.S.C. § 3617(Including 24
C.F.R. §§ 100.400(a)(b)(c)(2)(4-6)), 18 U.S.C. § 241, 42 U.S.C. § 1985(3), 42 U.S.C. § 1986, 28 U.S.C.
4101(1)(2), and Hostile Housing Environment, that on Monday 24November 2014, Program Manager
Barlow, violating my civil rights because of my race, made another attempt to extort me into leaving the
T.I.P.S. program, or face eviction by the Board of Directors, when | received from her, a fabricated
letter/document from both her and Shelley, depicting me as a volatile, threatening, etc., person, who
attacked Sheiley, and that Shelley gave a statement to the police, etc.

18. | state a claim under 42 U.S.C. § 2000d et seq, 42 U.S.C. § 3604(b), 42 U.S.C. § 3617(Including 24
C.F.R. §§ 100.400(a)(b)(c)(2)(4-6)), 18 U.S.C. § 241, 42 U.S.C. § 1985(3), 42 U.S.C. § 1986, and Hostile
Housing Environment, that on Wednesday 26November2014, my civil rights were violated by former
T.I.P.S. Participant Bonnie because of my race. | did not know until after { was downstairs in the kitchen
fixing something to eat, that Bonnie was in the house visiting with Shelley, when after 30 minutes,
Bonnie comes into the kitchen, seeing me at the sink washing/rinsing dishes, instigated a similar
harassing incident that occurred on 15November2014, when without warning, Bonnie tried to take the
neck of the faucet out of my hand, etc., After | regained control, Bonnie is holding a butcher knife in her
hand, and starts brandishing, and pointing the butcher knife at me in a threatening manner. | called
911, etc., and Program Manager Barlow, who gave Bonnie permission to stay overnight with Shelley for
Thanksgiving(Please See COUNT Iil: Intentional Infliction of Emotional Distress # 4).

19. I state a claim under 42 U.S.C. § 2000d et seq, 42 U.S.C. § 3604(b), 42 U.S.C. § 3617(Including 24
C.F.R. §§ 100.400(a)(b)(c)(2)(4-6)), 42 U.S.C. § 1985(3), 42 U.S.C. § 1986, 28 U.S.C. § 4101(1)(2), and
Hostile Housing Environment, that on 03December2014, | submitted to Program Manager Barlow, a
formal grievance for the T.I.P.S. Board of Directors, against Program Manager Barlow, T.I.P.S.
Participant/Holland House resident Shelley, and former T.I.P.S. Participant Bonnie, for racial
discrimination, harassment, and conspiring trying to force me to leave the Transitional Housing Program
because of my race, etc.

20. | state a claim that on O8December2014, | received from Program Manager Barlow a note/letter,
from the Board of Directors President Ambrosaini, wanting to arrange a meeting, to discuss the

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situation.

21. I state a claim under 42 U.S.C. § 2000d et seq, 42 U.S.C. § 42 U.S.C. 1985(3), 42 U.S.C. § 1986, that
on 18December2014, | was informed by Program Manager Barlow, that Board of Directors President
Ambrosaini, wants to have a meeting with Barlow and myself, on Monday 22December. | told Barlow
that | wanted to have a legal aid representative present on my behalf, and Barlow objected, saying that
she will have to talk with Ambrosaini about it. Program Manager Barlow and/or Board of Directors
President Ambrosaini, then cancelled the meeting.

22. {claim that on Saturday 20December2014, | filed an online racial discrimination housing complaint
with the HUD Housing Agency, and on OSJanuary2015, | mailed a racial discrimination housing complaint
to the I.H.R.C.(Idaho Human Rights Commission).

23. I state a claim under 42 U.S.C. § 2000d et seq, 42 U.S.C. § 3604(b), 42 U.S.C. § 3617(Including 24
C.F.R. §§ 100.400(a)(b)(c)(2)(4-6), 18 U.S.C. § 241, 42 U.S.C. § 1985(3), 42 U.S.C. § 1986, and Hostile
Housing Environment, that after I filed the formal grievance on 0O3December2014, the racial
discrimination complaints with HUD Housing Agency and the I.H.R.C., against Program Manager Barlow,
and co-conspirators, Shelley, and former T.I.P.S. Participant Bonnie, my civil rights continued to be
violated, as the harassment against me by Shelley and Bonnie escalated, and Barlow openly defended
them, refusing to stop the harassment when | complained to her, etc.

24. \ state a claim under 42 U.S.C. § 2000d et seq, 18 U.S.C. § 241, 42 U.S.C. § 1985(3), 42 U.S.C. § 1986,
that the T.I.P.S. Board of Directors, never responded to my formal grievance submitted to Program
Manager Barlow on 03December2014.

26, I state a claim under 42 U.S.C. § 2000d et seq, 42 U.S.C. § 3604(b), 42 U.S.C. § 3617(Including 24
C.F.R. §§ 100.400(a)(b)(c)(2)(4-6)), 18 U.S.C. § 241, 42 U.S.C. § 1985(3), 42 US.C. § 1986, and Hostile
Housing Environment, that Board of Directors President Ambrosaini, Program Manager Barlow, Shelley,
and former T.LP.S. Participant Bonnie, from 03December2014-thru-May2015, that my civil rights
continued to be violated: 1) 1 wrote another letter to Board of Directors President Ambrosaini, on
02February2015, complaining about the escalating, ongoing harassment by Shelley and Bonnie, and that

Barlow refused to stop it, etc. Board of Directors President Ambrosainin, never responded to my letter
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of complaint. 2) | wrote another letter to Board President Ambrosaini, on Friday 13February2015,
complaining again, about the ongoing, escalating harassment, that included my personal property being
damaged, and my vehicle being vandalized, ect., by Shelley and Bonnie, and Program Manager Barlow
defending them, refusing to stop it, etc., Board of Directors President Ambrosaini, never responded to
my letter of complaint(Please See COUNT III: Intentional Infliction of Emotional Distress # 5/6)........

25. I state a claim under 42 U.S.C. § 2000d et seq, 18 U.S.C. § 241, 42 U.S.C § 1985(3), 42 U.S.C. § 1986,
and Hostile Housing Environment, that on O8July2015, Board of Directors President Ambrosaini, said to
me during a phone call, that she is not responsible for the actions of Program Manager Barlow and the
others actions, because {| did not ask her for help in my letters of complaint to her, so she decided not to

intervene to stop the racial discrimination, etc.
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HOUSING DISCRIMINATION

COUNT Il: DEFAMATION

1. I state a claim respectfully, that | am suing under the Fair Housing Act, 42 U.S.C. §
3613(1(B))(b(1))(c(2)), the Civil Rights Act of 1866, 1964(42 U.S.C. § 2000d et seq), 42 U.S.C. § 1981, 42
U.S.C. § 1983, 18 U.S.C. § 241 ; Requesting a jury trial, against the Board of Directors of the Bonner
Homeless Transitions(Formerly T.1.P.S.), under 24 C.F.R. § 100.7(a)(i)(ii)(iii)(b), 18 U.S.C. § 241, and 42
U.S.C. § 1986 ; For Defamation and Hostile Housing Environment, under 28 U.S.C. § 4101(1)(2), 18
U.S.C. § 241, 42 U.S.C. § 1985(3), 42 U.S.C. § 1986, by Joanne Barlow Program Manager at the Bonner
Homeless Transitions(Formerly T.I.P.S.) Trestle Creek Community/Holland House property, and co-
conspirators former T.LP.S. Participants/Holland House residents Bonnie Edgecomb and Michelle
“Shelley” Lang under18 U.S.C. § 241, 42 U.S.C. § 1985(3), and Hostile Housing Environment ; For
violations of my Constitutional and Civil Rights under the Civil Rights Act of 1866, 1964( 42 U.S.C.§ 2000d
et seq), 42 U.S.C. § 1983 ; The Fair Housing Act under 42 U.S.C. § 3602(f)(h)(3), 42 U.S.C. § 3604(b), 42
‘U.S.C. § 3617(Including 24 C.F.R. §§ 100.400(a)(b)(c)(2)(4-6)) and American Disability Act under 42 U.S.C.
§ 12203(a)(b) ; Based on Race, Black/African American.
In support of the above stated claims, | offer the following facts:
2 I state a claim under 28 U.S.C. § 4101(1)(2), 42 U.S.C. § 2000d et seq, 42 U.S.C. § 3604(b), 18 U.S.C. §
241, 42 U.S.C. § 1985(3), 42 U.S.C. § 1986, and 42 U.S.C. § 12203(a)(b), and Hostile Housing
Environment, that when Program Manager Barlow could not pressure me to leave the T.I.P.S. Program
on her own, she recruited and then conspired with co-conspirators and T.I.P.S. Participants/Holland
House residents Bonnie Edgecomb and Shelley Lang, to help her to force me to leave the T.I.P.S._
Program. From March2014-to- July2015, Barlow orchestrated a campaign of defamation against me
with the help of Bonnie and Shelley, by warning and pressuring every current and new resident living
throughout the T.1.P.S. Trestle Creek Community and Holland House property, to stay away from me

because | am a threatening, intimidating, volatile, angry person, { harass people, | have a mental illness, |
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am crazy, with a mental disease, physically attacking residents, etc. to deprive me of my civil rights, and
deprive me of my rights as a T.I.P.S. Participant, etc., because of Program Manager Barlow’s racial
prejudice against me, etc.

3. I state a claim under 28 U.S.C. § 4101(1)(2), 42 U.S.C. § 1985(3), and Hostile Housing Environment,
that defamatory statement(s) were made to former T.I.P.S. Participant/Holland House resident named

Veda in her witness statement said: “Bonnie talked to me about you being crazy, and

 

she kept pressuring me to stay away from you. | told Bonnie that | make up my own mind about you,
that | liked you. Bonnie and Shelley started harassing me, they kept after me until they forced me out of
Holland House because | wouldn’t stay away from you...(Given on Monday 11May2015).”

4. | state a claim under 28 U.S.C. § 4101(1)(2), 42 U.S.C. § 2000d et seq, 42 U.S.C. § 3602(f)(h)(3), and 42
U.S.C. § 3604(b), 18 U.S.C. § 241, 42 U.S.C. § 1985(3), 42 U.S.C. § 12203(a)(b), and Hostile Housing
Environment, that on Friday 30May2014, Holland House resident Bonnie, slandered me, violating my
civil rights, because of my race, when she interfered with my right to reside in Holland House as a T.I.P.S.
Participant, by verbally attacking me as she followed me out of the kitchen up the stairs to my room,
saying repeatedly “You have mental problems. You’re always angry. You don’t belong here. Nobody
wants to talk to you. You need to leave, you're not from this state, I’m from this state, | belong here, |
don’t want you here, you need to go back where you came from.”

5. I state a claim under 28 U.S.C. § 4101(1)(2), 42 U.S.C. § 2000d et seq, 42 U.S.C. § 3604(b), 42 U.S.C. §
3617(Including 24 C.F.R. §§ 100.400(a)(b)(c)(2)(4-6)), 18 U.S.C. § 241, 42 U.S.C. § 1985(3), 42 U.S.C. §
1986, and Hostile Housing Environment, that on Thursday 20November2014, | was slandered by
Program Manager Barlow, who conspired with Shelley to violate my civil rights, threatened my freedom
because of my race, by fabricating an allegation that | threatened and intimidated, while physically
attacking, pushing and grabbing Shelley's arm, etc., as extortion to force me leave the T.I.P.S. program
on my own, or be arrested for assault and eviction by the T.1.P.S. Board of Directors. Barlow said that
Shelley will be calling the police to have me arrested for assaulting her, and that | can expect to be
arrested at any time, etc. When | denied doing anything to Shelley, Barlow interrupted me and said
“When will you be leaving the program?” When | didn’t answer, Barlow said “Well, you can expect to be
arrested then, etc.

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6. I state a claim under 28 U.S.C. § 4101(1)(2), 42 U.S.C. § 2000d et seq, 42 U.S.C. § 3604(b), 42 U.S.C. §
3617(Including 24 C.F.R. §§ 100.400(a)(b)(c)(2)(4-6)), 42 U.S.C. § 1985(3), 42 U.S.C. § 1986, and Hostile
Housing Environment, that on Monday 24November2014, Program Manager Barlow, and Shelley
conspired together and made a libelous statement in a fabricated letter/document, that | received from
Barlow, which described me as a volatile, threatening person, who physically assaulted Shelley, and that
Shelley gave a statement to the police, etc.

7. (state a claim under 28 U.S.C. 4101(1)(2), 42 U.S.C. § 2000d et seq, 18 U.S.C. § 241, 42 U.S.C. §
1985(3), 42 U.S.C. § 1986, and Hostile Housing Environment, that on Saturday 12April2015, defamatory
statements were made to former T.I.P.S. Participant/Holland House resident named Susan Jahn, ina
witness statement said: (1) When she became a resident at Holland House, she was warned by
Program Manager Barlow not to talk to me and to stay away from me, and that Shelley, began telling
her things about me, warning her to stay away from me, that | cause trouble, that | don’t like people,
etc. (2) Susan said that Shelley also talked to the other residents within the Trestle Creek Community
about staying away from me because of my threatening and intimidating manner. (3) Susan said that a
couple of weeks ago, Barlow and Shelley, were pressuring her to agree with them that | was being
threatening and intimidating to her. (4) Susan said that one day, Shelley saw her talking to me and that
Shelley warned her again about talking to me, to leave me alone. Susan then said to Shelley “She’s not
bothering me, | get along with Jo, | don’t have a problem with her.” (5) Susan said that since she has
been a resident for almost two months, that she has observed many times how Shelley and | interact
with each other when we were in the kitchen, saying that she has never seen me talk to Shelley or even
interact with Shelley in any way since she’s been a resident at Holland House.

8. I state a claim under 28 U.S.C. § 4101(1)(2), 18 U.S.C. § 241, 42 U.S.C. § 1985(3), 42 U.S.C. § 1986, 42
U.S.C. § 2000d et seq, Hostile Housing Environment, that former T.I.P.S. Participants/Holland House
residents Veda and Susan Jahn’s witness statements is further corroborated by statements to the
.H.R.C., during their preliminary investigation of my discrimination complaint on 03February2015:

Shelley’s libelous statement(s) saying in part: “...at having to warned new residents here to stay away
from Ms. Guion ; “I also feel discriminated and intimidated by Ms. Guion...” ;_ “...impeded by her

ongoing threatening behavior.” Bonnie’s libelous statement(s) saying in part: “This person has

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discriminated against, threatening every resident as witnessed by me, and personally against me It’s
obvious she has personal issues, we were instructed to stay away from her and not interact with her.” “I
would also have a case for assault against her because she literally grabbed my arm with both hands and
she shook me prior to calling the police...”

9. I state a claim under 28 U.S.C. § 4101(1)(2), 42 U.S.C. § 12203, 42 U.S.C. § 3602(h)(3), 42 U.S.C. §
1985(3), 42 U.S.C. § 1986, 42 U.S.C. § 2000d et seq, and Hostile Housing Environment, that on Saturday
O02May2015, Program Manager Barlow slandered me, violating my civil rights because of my race, when
Tammy Johnson, the on-site Caretaker for the T.1.P.S. Trestle Creek Community/Holland House property,
said to me, that Program Manager Barlow has talked to her as well as to the residents throughout the
Trestle Creek Community/Holland House property, saying that | am crazy, that | have some kind of
mental disease that | am taking medication for, etc., and for the caretakers as weil as the residents to
not talk to me and to stay away from me. Program Manager Barlow did this in retaliation because | sent
the I.H.R.C. Investigator photocopies of racially discriminatory housing rental of a cabin with no indoor
plumbing, a woodstove for cooking and heating, that Barlow gave to me.

10. I state a claim under 42 U.S.C. § 4101(1)(2), 42 U.S.C. § 1986, 42 U.S.C. § 2000d et seq, and Hostile
Housing Environment, that Shyrelle Johnson, daughter of Tammy Johnson, was present with her mother
in Program Manager’s Barlow’s office in Holland House, when Barlow spoke to Tammy Johnson about

me.

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HOUSING DISCRIMINATION
COUNT Ill: INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

1. | state a claim respectfully, that | am suing under the Fair Housing Act, 42 U.S.C. §
3613(1(B))(b(1))(c(2)), the Civil Rights Act of 1866, 1964(42 U.S.C. § 2000d et seq), 42 U.S.C. § 1981, 42
U.S.C. § 1983, 42 U.S.C. § 1985(3), 42 U.S.C. § 1986, and 18 U.S.C. § 241; Requesting a jury trial, against
the Board of Directors of the Bonner Homeless Transitions(Formerly T.I.P.S.), under 24 C.F.R. §
100.7(a)(i)(ii)(iii)(b), 42 U.S.C. § 1986, 18 U.S.C. § 241; For Intentional infliction Of Emotional Distress by
Board of Directors President Mary Jo Ambrosaini, Joanne Barlow, Manager at the Bonner Homeless
Transitions(Formerly T.1.P.S.) Trestle Creek Community/Holland House property, and co-conspirators
former T.I.P.S. Participants/Holland House residents Bonnie Edgecomb, and Michelle “Shelley” Lang
under 42 U.S.C. § 1985(3), 18 U.S.C. § 241, and Hostile Housing Environment ; For violating my
Constitutional and Civil Rights under the Civil Rights Act under 1866, 1964( 42 U.S.C. § 2000d et seq),
1981,1983; The Fair Housing Act(FHA) under 42 U.S.C. § 3602(h), 42 U.S.C. § 3604(b), and 42 U.S.C. §
3617(Including 24 C.F.R. §§ 100.400(a)(b)(c)(2)(4-6)) ; American Disability Act under 42 U.S.C. §
12203(a)(b) ; Based on Race, Black/African American.

in support of the above stated claim, | offer the following facts:

2. I state a claim under 1964(42 U.S.C. § 2000d et seq), 18 U.S.C. § 241, 42 U.S.C § 1983, 42 U.S.C.
§1985(3), 42 U.S.C. § 3602(h), 42 U.S.C. § 3604(b) and 42 U.S.C. § 3617(including 24 C.F.R. §§
100.400(a)(b){c)(2)(4-6), 42 U.S.C. § 12203(a)(b), and Hostile Housing Environment, that on Friday
27June2014, Program Manager Barlow intentionally inflicted emotional distress upon me, when she
violated my civil rights, interfering with my right to engage in a protected activity, by refusing to give me
access to the contact information for the Housing Agency, information | needed for filing a race
discrimination complaint against her and Bonnie, that was not posted on the bulletin board outside of
her office in Holland House. Barlow threatened to have harassment charges brought against me by
former and current residents throughout the T.LP.S. Trestle Creek property, and by her predecessor
former Program Manager Lissa De Freitas, would also bring harassment charges against me if |

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contacted the Housing Agency. When | protested that | have a right to the Housing Agency information,
Barlow said if | contacted the Housing agency, | would be evicted, that the Board of Directors would
evict me. When | protested again, Barlow used my personal situation against me, of being disabled,
losing my job because of the disability, having no income, etc., to put the fear in me of becoming
homeless with my disability, if | am evicted by the Board of Directors. Barlow convinced me that the
Board of Directors have the authority to evict me if | talked to the Housing Agency. | believed her. The
fear of being homeless, with nowhere else to go, forced me to change my mind about contacting the
Housing Agency.

3. I state a claim under 1964(42 U.S.C. §2000d et seq), 42 U.S.C. § 1983, 42 U.S.C. § 1985(3), 42 U.S.C. §
1986, 18 U.S.C. § 241, 42 U.S.C. § 3604(b), 42 U.S.C. § 3617(Including 24 C.F.R. §§ 100.400(a)(b)(c)(2)(4- |
6)), and Hostile Housing Environment, that on Thursday 20November2014, Program Manager Barlow,
Intentionally inflicted Emotional Distress upon me, violating my civil rights, trying to take away my
freedom as a law abiding citizen, and my rights as a T.1.P.S. Participant, residing in Holland House
because of my race. Barlow and co-conspirator Shelley, conspired to use extortion, to force me into
leaving the T.I.P.S. Transitional Housing Program on my own, or be arrested for physical assault and
eviction by the T.1.P.S. Board of Directors. Barlow, and co-conspirator Shelley, used an incident of
harassment by Shelley, that occurred on Saturday15November2014, fabricated a story, in which | was
accused by Barlow, of being threatening and intimidating, etc., while pushing, grabbing Shelley’s arm
while physically attacking her. Barlow said that Shelley talked to the police, made out a complaint to
have me arrested for physical assault, and that | should expect to be arrested at any time. When |
denied doing anything to Shelley, Barlow interrupted me and said “When are you leaving the program?”
When | didn’t answer, Barlow said “Well, you can expect to be arrested, then.” Reacting out of fear,
believing that | was about to be arrested for something that never happened, | called an out-of-state
family member, told him what happened, and he told me to go to the police, that | was being set up. On
Friday 21November2014, | went to the Bonner County Sheriff's Department, expecting to be arrested, |
gave a statement to Deputy Matt Wallace. | told the Deputy what happened, and that Barlow is
conspiring with Shelley, etc., to force me out of the T.I.P.S. program, etc. Deputy Wallace, advised me to
get a voice recorder, etc. | then went over Barlow’s head to stop her and Shelley from having me

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arrested and evicted from the T.1.P.S. Program, by faxing a letter of complaint to T.I.P.S. Board of
Directors President Mary Jo Ambrosaini, on Monday 24November2014, complaining that Program
Manager Barlow and Shelley, are conspiring to have me arrested for physical assault, as a means to have
me evicted from the T.I.P.S. program, and that Barlow is also conspiring with former T.I.P.S. Participant
Bonnie, to force me out, etc. For several weeks | lived in fear, suffering from stress-related outbreaks of
skin rashes on my body, sleepless nights, etc., waiting to be arrested.

4. | state a claim under 1964( 42 U.S.C. § 2000d et seq), 42 U.S.C. § 1985(3), 42 U.S.C. § 1986, 18 U.S.C. §
241, 42 U.S.C. § 3604(b), 42 U.S.C. § 3617(Including 24 C.F.R. §§ 100.400(a)(b)(c){2)(4-6)), and Hostile
Housing Environment, that on Wednesday 26November2014, former T.I.P.S Participant Bonnie
Edgecomb, violated my civil rights and my rights as a T.1.P.S. Participant because of my race, when she
intentionally inflicted emotional distress upon me during an incident of harassment by Bonnie. Not
knowing that Bonnie was in Holland House visiting with Shelley, until approximately 30 minutes later,
when I’m at the kitchen sink washing/rinsing my dishes. Bonnie comes into the kitchen and she did
exactly the same thing that Shelley did to me in an incident two weeks ago on 15November, without
warning, tried to wrestle control of the faucet and hot water knob from me, while | was rinsing my
dishes, etc. When Bonnie could not get control, she turned to face me, holding a butcher knife in her
hand, brandishing, and pointing the butcher knife at me that | felt was threatening. | called 911. The
Bonner County Sheriff’s Deputies came to Holland House, took statements from Bonnie, Shelley and
myself. | recorded the entire incident on a voice recorder. The Deputies told all of us to stay away from
each other. | called the on-site Caretakers residence, and spoke to Kelly, told him what happened, and
Kelly said that Barlow, gave Bonnie permission to stay the night with Shelley, so she could spend
Thanksgiving day with Shelley. | called Barlow, told her what happened, and her response was which
police department came over to Holland House, | told her and she ended the call. | did not go back
downstairs the rest of the day or night, too upset to eat, and not wanting another confrontation with
Bonnie, since she was in the house. | suffered another breakout of skin rashes on my body, from the
stress, etc.

5. I state a claim under 1964(42 U.S.C. § 2000d et seq), 42 U.S.C. § 1983, 42 U.S.C. § 1985(3), 42 U.S.C. §
1986, 18 U.S.C. § 241, 42 U.S.C. § 3604(b), 42 U.S.C. § 3617(including 24 C.F.R. §§ 100.400(a)(b)(c)(2)(4-

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6)}, and Hostile Housing Environment, that from 03December2014-thru-March2015, Program Manager
Barlow, and co-conspirators Shelley Lang and former T.I.P.S. Participant Bonnie Edgecomb, continued to
deprived me of my civil rights and my rights as a T.I.P.S. Participant residing in Holland House, by
Intentionally inflicting Emotional Distress, upon me, in retaliation after | filed a formal grievance against
them for racial discrimination, that was given to Barlow, for submission to the Board of Directors, on
03December2014, and for filing a racial discrimination complaint against them with the HUD Housing
Agency on 20December2014, and the !.H.R.C.(idaho Human Rights Commission), on OSJanuary2015.
Former T.I.P.S. Participant Bonnie, and Holland House resident Shelley, escalated the harassment, by
depriving me of my right to use the kitchen facilities, etc., damaging my personal property(dishes and
bakeware, etc.), and vandalizing my car, by keying both sides of my vehicle, from front-to-rear, denting
my vehicle on the driver’s side door, etc. | went to the on-site Caretakers residence and asked caretaker
Tammy Johnson to call Program Manager Barlow, about the vandalism, then | went to the Bonner
County Sheriff’s Department to report my car being vandalized by Bonnie and Shelley, telling the Deputy
about the ongoing, escalating harassment, because of racial discrimination, etc. The Deputy took
photos of the damage, and he told me that an open file will be kept,, etc. | suffered another breakout
of rashes on my body, began missing meals, etc., from the stress, because | did not want to be
downstairs, especially whenever Bonnie was visiting with Shelley, and/or staying the night, etc.

6. I state a claim under 1964(42 U.S.C. § 2000d et seq), 42 U.S.C. § 1983, 42 U.S.C. § 42 1985(3) 42
U.S.C. § 1986, 18 U.S.C. § 241, 24 C.F.R. § 100.7(a)(i){ii}(iii)(b), and Hostile Housing Environment, that my
civil rights, and my rights as a T.LP.S. Participant, continued to be violated by Intentional Infliction of
Emotional Distress by Program Manager Barlow and her co-conspirators Shelley, and former T.I.P.S.
Participant Bonnie, by the Board of Directors, who never responded to my formal grievance, submitted
on 03December2014, and by Board of Directors President Ambrosaini. On O8December2014, Program
Manager Barlow gave me a note from Board of Directors President Ambrosaini, who wanted to meet
with me to discuss the situation. On 18December2014, Barlow informed me that Board President
Ambroasini, wanted to meet with Barlow and myself on Monday22December2014. | said to Barlow that
| wanted to have a legal aid representative present on my behalf, but Barlow objected, saying that she
will have to talk to Ambrosaini about it. The meeting was cancelled. When the ongoing harassment

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escalated from 03December2014-thru-March2015, by Shelley and former T.1.P.S. Participant Bonnie,
and Barlow refusing to stop the harassment, | mailed another letter on Monday 02February2015, to
Board President Ambrosaini, complaining to her about the ongoing harassment and Barlow doing
nothing to stop it. There was no response from Ambrosaini. On Monday 16February2015, | mailed
another letter of complaint to Board President Ambrosaini, after my personal property was damaged,
etc., and my vehicle vandalized by Bonnie and Shelley, on Friday 13February2015, Board President
Ambrosaini, still did not respond.

On O8suly2015, Board of Directors President Ambrosaini, said to me during a phone conversation, that
she did not intervene to stop Barlow and the others, because she is not responsible for Program
Manager Barlow and the others actions since | never asked her for help, when | wrote to her

complaining about the ongoing discrimination by Barlow, Shelley and Bonnie, et

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REQUEST FOR RELIEF:

COUNT | RACE and HOSTILE HOUSING ENVIRONMENT:

{ state a claim respectfully, asking that | be made whole for the intentional harm done to me by Program

Manager Barlow and her co-conspirators, for depriving me of my Constitutional Civil Rights as a

participant in the T.1.P.S. Transitional Housing Program because of my race. | ask relief of $100,000.00 in

damages under 24 C.F.R. § 100.7(a)(b), 42 U.S.C. § 1986, 42 U.S.C. § 1981(a), 24-U.S.C. § 1982, 601 of

Title VI, 42 U.S.C. § 2000d et seq ; $100,000.00 in punitive damages, under 24 C.F.R. § 100. 7(a)(b), 42

U.S.C. § 1986, 42 U.S.C. § 1981(b), 42 U.S.C. § 1982, 601 of Title VI, 42 U.S.C. 2000d et seq, against the
Board of Directors and Board of Directors Ambrosaini, for their reckless disregard and knowledge of my :
Constitutional and Civil Rights being violated by Program Manager and her co-conspirators, and doing

nothing to stop it, etc., because of racial discrimination ; Attorney's fees under 42 U.S.C. § 1988(b) and

42 U.S.C. § 3613(c)(2).

COUNT II DEFAMATION:

| state a claim respectfully, asking that | be made whole for the intentional harm done by Program
Manager Barlow and her co-conspirators, to my reputation as a law-abiding citizen, with no history of
threatening, intimidating, harassing, etc., behavior, or being mentally ill, nor having a history of mental
illness, depriving me of my Constitutional and Civil Rights, attempting to deprive me of my freedom,
etc., because of my race. | ask for relief of $200,000.00 in punitive damages under 24 C.F.R. § 7(a)({b), 42
U.S.C. § 1986, 601 Title VI 42 U.S.C. § 2000d et seq, 42 U.S.C. § 1981(b), 42 U.S.C. § 1982, for the malice,
reckless disregard and knowledge of my Constitutional and Civil Rights being violated by Program

Manager and her co-conspirators ; Attorney’s fees under 42 U.S.C. § 1988(b), and 42 U.S.C. § 3612(c)(2).

COUNT III INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS:

| state a claim respectfully, asking that | be made whole for the Intentional Infliction of Emotional
Distress, for the mental and physical distress brought on by the fear of becoming homeless, through
coercion to prevent me and deprive me of my right to complain about the racial discrimination to the

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Housing Agency, by Program Manager Barlow ; | lived with fear for weeks, waiting to be arrested, losing

my freedom, to be evicted from the T.I.P.S. Transitional Housing Program by the Board of Directors,

because of Program Manager Barlow and her co-conspirator fabricating an allegation of assault, that

they used as extortion to make me choose between losing my freedom or leaving the T.I.P.S. program

on my own, depriving me of my Constitutional and Civil Rights, because of my race ; The hostile housing

environment, in retaliation for filing a formal grievance, and discrimination complaints, vandalizing my

vehicle, damage to my personal property, etc. | ask for relief of $100,000.00 in damages under 24 C.F.R.

§ 100.7(a)(b), 42 U.S.C. §1986, 42 U.S.C. § 1981(a), 42 U.S.C § 1982, 601 Title Vi, 42 U.S.C. § 2000d et seq !
; $100,000.00 in punitive damages under 24 C.F.R. § 100.7(a)(b), 42 U.S.C. § 1986, 42 U.S.C. § 1981(b), ,
601 Title VI, 42 U.S.C. § 2000d et seq, against the Board of Directors and Board of Directors President

Ambrosaini, for their malice, reckless disregard and knowledge of my Constitutional and Civil Rights

being violated by Program Manager and her co-conspirators ; Attorney’s fees under 42 U.S.C. § 1988(b),

42 U.S.C. § 3613(c)(2).

Josephine Guion, Pro Se

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IS EMPLOYED AS_Leand (Homa. at acaeSiTions Iw frogs Snvicas (LPS)

(Position and Title if Any) (Organization)
Was the defendant acting under the authority or color of state law at the time these
claims occurred?

YES ___ NO_i If your answer is "YES" briefly explain.

 

 

 

NAME OF FOURTH DEFENDANT
(If applicable)

IS A CITIZEN OF
(city and State)

IS EMPLOYED AS at

(Position and Title if Any) (Organization)
Was the defendant acting under the authority or color of state law at the time these
claims occurred?

YES ___ NO__.. If your answer is "YES" briefly explain.

 

 

 

(Use additional sheets of paper if necessary.)

B, NATURE OF CASE

Why are you bringing this case to court? Please explain the circumstances that led to the
problem.

ViolalionsS of my Civil giGHlb, wnoge THE friTl —
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F ACTION

] allege that my constitutional rights, privileges or immunities have been violated and that the
following facts form the basis for my allegations: (If necessary you may attach additional
pages)

a. (1) Coumti: Aeatario’

(2) Supporting Facts: (Describe exactly what each defendant did or did not do.
State the facts clearly in your own words without citing legal authority or
arguments.)

 

   

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67e. — Keonsa SG2_ ATTACK CO —

b. (1) ‘Count I:

 

 

(2) Supporting Facts:

 

 

 

 

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¢. (i) = Count I:

 

(2) Supporting Facts:

 

 

 

 

 

 

D.INJURY

1. How have you been injured by the actions of the defendant(s)? _2~ SuA60 Fin QI AWD

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Have you-filed other lawsuits in state or federal court that deal with the same facts that are
invoived in this action or otherwise relate to the conditions of your imprisonment? YES_
__/NO_. If your answer is "YES," describe each lawsuit. (If there is more than one
lawsuit, describe additional lawsuits on additional separate pages, using the same outline.)

a. Parties to previous lawsuit:
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Plaintifi{s):

 

Defendant(s):
b. Name of court and case or docket number:

 

 

c. Disposition (for example: Was the case dismissed? Was it appealed? Is it still
pending?)

d. Issues raised:

 

 

 

 

 

e. When did you file the lawsuit?
Date Month Year

f. When was it (will it be) decided?

 

Have you previously sought informal or formal relief from the appropriate administrative
officials regarding the acts complained of in Part C? YES /NO____. If your answer
is "YES" briefly describe how relief was sought and the results. If your answer is "NO"
explain why administrative relief was not sought.

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EF. REQUEST FOR RELIEF
I believe that I am entitled to the following relief:
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HOUSING DISCRIMINATION

COUNT I: RETALIATION
1. 1 state a claim that | am suing under the Fair Housing Act 42 U.S.C. § 3613(1(B))(b(1))(c(2)),
Civil Rights Act of 1866, 1964(42 U.S.C. § 2000d et seq), 42 U.S.C. § 1981, 42 U.S.C. § 1983, 42
U.S.C. § 1985(3), 42 U.S.C. § 1986, 18 U.S.C. § 241, 28 U.S.C. § 4101(1)(2), respectfully
requesting a jury trial, against the Board of Directors, of the Bonner Homeless Transitions
Transitional Housing Program( Formerly Transitions In Progress Services( T.I.P.S.)), under 24
C.F.R.§ 100.7(a)(i)(ii)(iii)(b), 42 U.S.C. § 1986, 18 U.S.C. § 241 for Retaliation ; Retaliation by
Joanne Barlow, Program manager at the Bonner Homeless Transitions(Formerly Transitions In
Progress Services(T.I.P.S.)) Trestle Creek Community/Holland House property, and former
T.I.P.S. Participants/Holland House residents Bonnie Edgecomb, and Michelle “Shelley” Lang,
for Retaliation, under 42 U.S.C. § 1985(3), 18 U.S.C. § 241, 42 U.S.C. § 1986, 42 U.S.C. §
4101(1)(2) ; For violations of the Anti-Retaliation Provisions under Sections 803, 804, 805, 806,
and 818 of the Fair Housing Act( including 24 C.F.R. §§ 100.400(a)(b)(c(4-6)); The Civil Rights Act
of 1866, 1964(42 U.S.C. § 2000d et seq), 42 U.S.C. § 1981, 42 U.S.C. §1982; The American
Disability Act under 42 U.S.C. § 12203(b)(c) ; Based on: Race, Black/African American.

In support of the above stated claim, | offer the following facts:

2. | state a claim that | became a participant in the two-year program of the T.1.P.S.
Transitional Housing Program in July2013. In January 2014, | suffered a workplace injury, that
later became a documented permanent disability in March 2014.

3. I state a claim under 42 U.S.C. § 3604(b), 42 U.S.C. § 3617, that in November2013, Joanne
Barlow the new Program Manager for the T.I.P.S. Trestle Creek Community/Holland House
property, violated the Anti-Retaliation Provision, interfering with my rights as a T.1.P.S.

Participant residing at Holland House because of my race, when she met me for the first time,
and seeing that | am a Black/African American, she tried to coerced me into moving out of

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Holland House. Barlow said “Don’t you feel oppressed living here in Idaho? Don’t you feel
oppressed by how people(whites) treat you? I’m from the ‘South’ and | know how African
Americans feel being oppressed about living in places like Idaho.” “Aren’t you ready to leave
this place, wouldn’t you feel better living somewhere else, where you would feel more
comfortable with your own kind?” After her talk with me, Barlow pressured me almost weekly
about finding another place to live.

4. I state a claim under 42 U.S.C. § 3604{b), 42 U.S.C. § 3617 and Hostile Housing Environment,
that in February2014, Program Manager Barlow, violated the Anti-Retaliation Provision,
interfering with my rights as a T.1.P.S. Participant residing at Holland House because of my race,
when she tried to coerce me into moving out of Holland House into a racially discriminatory
housing rental of a rundown, one-room shack, etc., that Barlow showed me pictures of on her
computer, insisting that | move out of Holland House into the available rental right away, which
| refused.

5. | state a claim under 42 U.S.C § 3604(b), 42 U.S.C. § 3617(Including 24 C.F.R. §§
100.400(a)(b)(c)(2){4-6)), 42 U.S.C. § 1985(3), 42 U.S.C. § 1986, 18 U.S.C. § 241, 28 U.S.C. §
4101(1)(2), and Hostile Housing Environment, that from March2014-thru-May2015, Program
Manager Barlow violated the Anti-Retaliation Provision, by retaliating against me because of my
race, when she recruited and conspired with T.1.P.S. Participants/Holland House residents
Bonnie Edgecomb and Michelle “Shelley” Lang, to help her try and force me out of the T.I.P.S.
Program. Barlow orchestrated a campaign of defamation against me, conspiring with Bonnie
and Shelley from March2014-thru-May2015, warning and pressuring every current and new
resident residing in Holland House and throughout the Trestle Creek Community property to
stay away from me because | am a threatening, intimidating, angry volatile person, | harass
people, | am crazy, etc.( from witness statements given by former T.I.P.S. Participants Susan

Jahn, and Veda _ in April and May2015, and from witness statements from Bonnie
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Edgecomb and Shelley Lang, during the preliminary I.H.R.C. discrimination complaint
investigation April2015).

6. | state a claim under 42 U.S.C. § 3604(b), 42 U.S.C. § 3617, 42 U.S.C. § 1985(3), 42 U.S.C. §
1986, 18 U.S.C. § 241, and Hostile Housing Environment, that during March-thru May2014,
T.LP.S. Participant/Holland House resident Bonnie, violated the Anti-Retaliation Provision,
interfering with my civil rights in the exercise or enjoyment and use of the kitchen facilities in
Holland House, by racially motivated incidents of harassment, trying to bait me into reacting to
her racially disparaging remarks to me with Shelley present, whenever | was in the kitchen area,
talking about my eating beans and cornbread, the “rag” | wear to cover my “nappy” hair, and of
my listening to that “black shit” music ; Bonnie staring me down, deliberately blocking my —
access to use the stove, whenever | wanted to cook my food on the stove, etc., trying to bait

me into reacting to her ; | bought a portable double burner, and a microwave oven, to use in
my assigned counterspace area, and planned my meals either before or after Bonnie and
Shelley were in the kitchen preparing their meals, etc., to avoid being around Bonnie and
Shelley ; Bonnie began leaving notes on my assigned counterspace area, that were accusatory,
trying to bait me into reacting to her ; | complained to Barlow about Bonnie harassing me.

7. I state a claim under 42 U.S.C. § 3604(b), 42 U.S.C. § 3617, 42 U.S.C. § 1985(3), 18 U.S.C. §
241, 42 U.S.C. § 1986, and Hostile Housing Environment, that on Thursday 29May2014, Bonnie
violated the Anti-Retaliation Provision, by instigating another harassment incident that involved
an accusatory note that was racially motivated by Bonnie, from witness statements given by
Tammy Johnson and her husband Kelly, the T.I.P.S. on-site Caretaker couple for the Trestle
Creek property. In Tammy Johnson’s written witness statement: “Bonnie said to me ‘I left that
note on purpose to piss Jo off. | hope she gets kicked out. I’m so tired of that little nigger!”
Kelly’s witness statement: “I only caught the tail-end of Bonnie talking to Tammy, but she said
the n-word. I knew she was talking about you.” | complained to Program Manager Barlow,

about Bonnie’s harassment.
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8. I state a claim under 42 U.S.C. § 3604(b), 42 U.S.C. § 1985(3), 42 U.S.C. § 1986, 18 U.S.C. §
241, 28 U.S.C. § 4101(1)(2), and Hostile Housing Environment, that on Thursday 29May2014,
Bonnie violated the Anti-Retaliation Provision, when she verbally attacked me, saying: “You
have mental problems, you’re always angry. You don’t belong here. Nobody wants to talk to
you. You need to leave. “ As I left the kitchen with my dinner, Bonnie was right behind me,
following me up the stairs to my room, repeatedly saying to me: “You need to leave, | don’t
want you here. You need to go back where you came from.” When I reached the door to my
room, Bonnie turns around and goes back downstairs. | complained to Program Manager
Barlow, what Bonnie said to me. | filed a formal grievance against Bonnie, which was submitted
to Barlow, who then submitted it to the T.I.P.S. Board of Directors.

9.. | state a claim under 42 U.S.C. § 3604(b), 42 U.S.C. § 3617(Including 24 C.F.R. §§
100.400(a)(b)(c)(2)(4-6)), 42 U.S.C. § 12203(a)(b), 42 U.S.C. § 1986, 18 U.S.C. § 241,, and Hostile
Housing Environment, that on Friday 27June2014, Program Manager Barlow, violated the Anti-
Retaliation Provision when she intentionally inflicted emotional distress upon me, depriving me
of my right to engaged in a protected activity, by refusing to give me the Housing Agency
contact information that | asked her for, which was not posted on the bulletin board outside of
her office in Holland House. | told her that | wanted to talk to someone at the Housing Agency
about the process for filing a race discrimination complaint. Barlow threatened me by saying
that if | talked to the Housing Agency, then charges of harassment would be filed against me by
current and former residents throughout the T.1.P.S. Trestle Creek Community/Holland House
property, and that her predecessor former Trestle Creek Community/Holland House Program
Manager Lissa DeFreitas, would also bring charges of harassment against me. | protested,
telling Barlow, that | have a right to contact the Housing Agency if 1 wanted to. Barlow replied
saying that if | talked to the Housing Agency, | would be evicted, that the Board of Directors
would evict me from the T.I.P.S. Transitional Housing Program. When | protested again,
Barlow, used my personal situation of being disabled with a permanent medical disability, the

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loss of my job because of the disability, no income, etc., to put me in fear of becoming
homeless, if | am evicted for contacting the Housing Agency. Barlow convinced me that the
Board of Directors have the authority to evict me if | contacted the Housing Agency. | believed
her. The fear of being homeless, having nowhere else to go, with a disability, no current
income, etc., forced me to change my mind about contacting the Housing Agency.

10. I state a claim under 42 U.S.C. § 3604(b), 42 U.S.C. § 2000d et seq, that on 28June2014, the
T.I.P.S. Board of Directors in their decision of my formal grievance, against Bonnie, violated the
Anti-Retaliation Provision in their disparate treatment against me. The Board of Directors
ensured Bonnie’s right, to continue exercising her right of full enjoyment and use, of the

kitchen facilities, to prepare and eat her meals in peace, while | was offered the
“accommodation” of preparing and eating my meals in my small room at all times, using only a
crock pot and microwave oven, further depriving me of the same rights and privileges that
Bonnie continued to enjoy. | refused to accept the Board of Director’s accommodation.

11. I state a claim that Bonnie moved out of Holland House into her own nearby apartment in
July2014, and was no longer a T.1.P.S. Participant, residing in Holland House.

12. I state a claim under 42 U.S.C. § 3604(b), 42 U.S.C. § 3617, 42 U.S.C. § 1985(3), 42 U.S.C. §
1986, 18 U.S.C. § 241, 42 U.S.C. § 2000d et seq, and Hostile Housing Environment, that Program
Manager Barlow violated the Anti-Retaliation Provision because of my race. After Bonnie
moved out of Holland House into her own apartment in July2014, and was no longer a T.1.P.S.
Participant, my civil rights, and my right to exercise of full enjoyment and use of the kitchen
facilities, etc., at Holland House, continued to be denied to me because of my race when Barlow
deliberately violated the T.I.P.S. Transitional Housing Program Guest Handbook(The “Visitors”
section states “No guests allowed on the Trestle Creek property after 8pm, and no overnight
guests, which is strictly prohibited at Holland House.”). From August-thru-July2015, former
T.1.P.S. Participant Bonnie, was encouraged by Barlow to stay beyond the 8pm curfew as
Shelley’s guest, which extended to Bonnie spending nights with Shelley during the week, to

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staying the entire weekends with Shelley, which gave Bonnie opportunities to continue her
racially motivated harassment against me, in spite of complaints from myself, and the on-site
Caretakers, to Barlow about Bonnie being at Holland House causing trouble, etc.

43. I state a claim under 42 U.S.C. § 3604(b), 42 U.S.C. § 1985(3), 42 U.S.C. § 1986, 18 U.S.C. §
241, 42 U.S.C. § 2000d et seq, and Hostile Housing Environment, that from August-thru-
November2014, Bonnie along with Shelley, violated the Anti-Retaliation Provision, by ongoing
harassment, trying to bait me into reacting to them, making racially disparaging remarks about
my listening to “jungle” music, making monkey noises, leaving large puddles of dishwashing gel
on my counterspace area, for me to clean up, etc., as | continued making an effort to avoid
being around Bonnie and Shelley as much as possible and not talk to them.

14. I state a claim under 42 U.S.C. § 3604(b), 42 U.S.C. § 3617, 42 U.S.C. § 1985(3), 42 U.S.C. §
1986, 42 U.S.C. § 2000d et seq, and Hostile Housing Environment, that on Saturday
15November2014, Shelley, violated the Anti-Retaliation Provision, by instigating an incident to
try and bait me into reacting to her, while | was preparing my dinner. Shelley came at me, with
her fists balled-up like she wanted to hit me. Shelley stopped within an arm’s length of me,
turned around and left the kitchen. Not saying anything to Shelley, | went back to fixing my
dinner. Twenty minutes later, while | was at the kitchen sink washing/rinsing my dishes,
listening to music with my earbuds in, | did not hear Shelley come up behind me, and without
warning, she reached out and tried pulling the neck of the water faucet out of my hand, etc.
Not saying anything to Shelley, | regained control of the faucet, to finish washing the dishes,
Shelley starts yelling at me calling me “You bitch!” and other expletives at me, as she stormed
out of the kitchen to call Bonnie, to have her come over.

15. I state a claim under 42 U.S.C. § 3604(b), 42 U.S.C. § 3617(Including 24 C.F.R. §§
100.400(a)(b)(c)(2)(4-6)), 42 U.S.C. § 1985(3), 42 U.S.C. § 1986, 18 U.S.C. § 241, 28 U.S.C. §
4101(1)(2), and Hostile Housing Environment, that on Thursday 20November2014, Program
Manager Barlow, violated the Anti-Retaliation Provision, intentionally inflicting emotional

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distress upon me, threatening my freedom, when she tried extorting me into either leaving the
T.LP.S. Program on my own, or face an arrest for assault, eviction by the T.I.P.S. Board of
Directors, for threatening, intimidating and physical attacking Shelley. Barlow conspired with
Shelley, using the incident on 15November2014, to fabricate a story in which Shelley accused
me of threatening, and intimidating her while pushing, grabbing Shelley’s arm while physically
attacking her. Barlow said that Shelley talked to the police, made out a complaint to have me
arrested for physical assault and that | should expect to be arrested at any time. When | denied
doing anything to Shelley, Barlow interrupted me and said “When are you leaving the
program?” When | didn’t answer, Barlow said “Well, you can expect to be arrested, then.”
Believing that | was about to be arrested for something that never happened, | reacted out of
fear and called an out-of-state family member, told him what happened, he tells me to go to
the police, that I’m being set up. The next day, Friday 21November2014, | went to the Bonner
County Sheriff's Department, and expecting to be arrested, | gave a statement to Deputy Matt
Wallace, about the incident, telling him that Program Manager Barlow and Shelley are
conspiring to force me out of the T.I.P.S. program, etc. Deputy Wallace advised me to get a
voice recorder, etc. | then went over Barlow’s head to stop her and Shelley from having me
arrested and evicted from the T.I.P.S. Program, by faxing a letter to T.1.P.S. Board of Directors
President Mary Jo Ambrosaini, on Monday 24November2014, complaining that Program
Manager Barlow and Shelley, are conspiring to have me arrested for physical assault, as a
means to have me evicted from the T.I.P.S. Program, and that Barlow is also conspiring with
former T.1.P.S. Participant/Holland House resident Bonnie, to force me out, etc. For several
weeks | lived in fear, suffering from stress-related outbreaks of skin rashes on my body,
sleepless nights, etc., waiting to be arrested.
16. I state claim under 42 U.S.C. § 3604(b),42 U.S.C. § 3617, 42 U.S.C. § 1985(3), 42 U.S.C. § .
1986, 28 U.S.C. § 4101(1)(2), and Hostile Housing Environment, that on Monday
24November2014, Program Manager Barlow violated the Anti-Retaliation Provision, when |

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received a letter/document that was fabricated by her and Shelley, depicting me as a volatile,
threatening person, who physically assaulted Shelley, and that Shelley gave a statement at the
police department, etc.

17. I state a claim under 42 U.S.C. § 3604(b), 42 U.S.C § 3617, 42 U.S.C. § 1985(3), 42 U.S.C. §
1986, and Hostile Housing Environment, that on Wednesday 26November2014, former T.1.P.S.
Participant Bonnie, visiting with Shelley, violated the Anti-Retaliation Provision, by intentionally
inflicting emotional distress upon me, by instigating a similar incident at the kitchen sink, that
occurred on 15November, when without warning, Bonnie tried to wrestle control of the faucet
and hot water knob from me, while | was rinsing my dishes, etc. When Bonnie could not get
control, she turned to face me, holding a butcher knife in her hand, brandishing and pointing
the butcher knife at me that | felt was threatening. | called 911. The Bonner Sheriff's Deputies
came to Holland House, took statements, from Bonnie, Shelley, and myself. The entire incident
was recorded on the voice recorder. The Deputies told us to stay away from each other. |
called the on-site Caretakers residence, and spoke to Kelly, told him what happened, and Kelly
said that Program Manager Barlow, gave Bonnie permission to stay the night with Shelley, so
she could spend Thanksgiving day with Shelley. | called Barlow, told her what happened, and
her response was which police department came over to Holland House, | told her and she
ended the call.

18. | state a claim under 42 U.S.C. § 3617(Including 24 C.F.R. §§ 100.400(a)(b)(c)(2)(4-6)), 42
U.S.C. § 1985(3), 42 U.S.C. § 1986, 42 U.S.C. § 2000d et seq, and Hostile Housing Environment,
that on Wednesday 03December2014, the Anti-Retaliation Provision was violated by Program
Manager Bariow, Shelley, and former T.I.P.S. Participant Bonnie. | submitted to Barlow, a
formal grievance for the T.I.P.S. Board of Directors, stating that Barlow, Shelley and Bonnie are
conspiring to force me out of the T.I.P.S. Program, by racially motivated harassment, etc., that
was encouraged by Barlow. | also notified the Board of Directors of my intent to file with the
HUD Housing Agency, etc., a racial discrimination complaint against Barlow, Bonnie and Shelley.

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19. I state a claim that Program Manager Barlow gave me a letter/note from T.1.P.S. Board of
Directors President Ambrosaini, on O8December2014, wanting to arrange a meeting to discuss
the situation.

20. 1 state a claim under 42 U.S.C. § 3617(Including 24 C.F.R. 100.400(a)(b)(c)(2)(4-6)), 42 §
1985(3), 42 U.S.C. § 1986, 42 U.S.C. § 2000d et seq, that on Thursday 18December2014, Board
of Director President Ambrosaini and Program Manager Barlow, violated the Anti-Retaliation
Provision, when They cancelled the meeting scheduled Monday 22December2014, over
objections to a legal aid representative being present on my behalf.

21. | state a claim under 42 U.S.C. § 3617(iIncluding 24 C.F.R. §§ 100.400(a)(b)(c)(2)(4-6), 42
U.S.C. § 2000d et seq, that The T.I.P.S. Board of Directors, violated the Anti-Retaliation
Provision, retaliating against me by not responding to my formal grievance submitted on
03December.

22. I state a claim under 42 U.S.C. § 3604(b), 42 U.S.C. § 3617(including 24 C.F.R. §§
100.400(a)(b)(c)(2)(4-6)), 42 U.S.C. § 1985(3), 42 U.S.C. § 1986, 42 U.S.C. § 2000d et seq, and
Hostile Housing Environment, that from December2014-thru March2015, the Anti-Retaliation
Provision was continuously violated by Program Manager Barlow, co-conspirators Shelley and
former T.1.P.S. Participant Bonnie, as they intentionally infliction emotional distress upon me,
escalating the ongoing harassment against me, out of retaliation for filing a formal grievance
and discrimination complaints with the I.H.R.C. and the HUD Housing Agency against them in
December 2014 and January2015 ; Monday 02February2015, | mailed a letter to T.I.P.S. Board
of Directors President Ambrosaini, who retaliated against me violating the Anti-Retaliation
Provision, by not responding to me when | wrote a letter to her, complaining about Program
Manager Barlow, Shelley and former T.I.P.S. Participant Bonnie’s ongoing harassment aginst
me, etc. ; Thursday 12February, the Anti-Retaliation Provision was violated by former T.I.P.S.
Participant Bonnie, escalating the ongoing harassment instigated another incident trying to bait
me, by intentionally blocking my access to my assigned refrigerator space that | shared with

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another resident. Bonnie stared me down, refusing to move until | left the kitchen with a bowl
of soup for dinner. Bonnie stayed the night with Shelley ; The Anti-Retaliation Provision was
violated by former T.1.P.S. Participant Bonnie and Shelley, when on Friday 13February2015, my
vehicle was vandalized out of retaliation by Shelley and Bonnie, who stayed the night with
Shelley. My vehicle was keyed from the front to the rear, on both sides of my vehicle, and
dented on the driver’s side door, with traces of red paint, matching the red color of Shelley’s
vehicle parked next to my vehicle. As! inspected the damage, Bonnie, and Shelley, were
looking out of the kitchen window, watching me, smiling, as | inspected the damage, etc. |
drove over to the Bonner’s Sheriff’s Office to report to a Deputy about my vehicle being
vandalized by Bonnie and Shelley, telling the Deputy Bonnie and Shelley did it, because of the
discrimination complaint | filed against them, etc. The Deputy took photos of the damage, and
an open file by the Bonner Sheriff's Department was started for any additional reports of the
ongoing harassment by Bonnie and Shelley, etc.

23. | state a claim under 42 U.S.C. § 3617(Including 24 C.F.R. §§ 100.400(a)(b)(c)(2)(4-6)), 42
U.S.C. § 1985(3), 42 U.S.C. § 1986, 42 U.S.C. § 2000d et seq, and Hostile Housing Environment,
that the Anti-Retaliation Provision was violated by T.I.P.S. Board of Directors President
Ambrosaini, when on Monday 16February2015, | mailed another letter to T.I.P.S. Board of
Director’s President Ambrosaini, complaining to her about the latest ongoing harassment,
damage to my personal property and of my car being vandalized by Bonnie and Shelley, and
Program Manager Barlow doing nothing to stop it, etc. There was no response from Board of
Directors President Ambrosaini.

24. | state a claim under 42 U.S.C. § 3604(b), 42 U.S.C. § 3617, 42 U.S.C. § 1985(3), 42 U.S.C. §
1986, 42 U.S.C. § 2000d et seq, 28 U.S.C. § 4101(1)(2), and Hostile Housing Environment, that
the Anti-Retaliation Provision was violated by Program Manager Barlow, and Shelley conspiring
to slander me to T.1.P.S. Participant/Holland House resident named Susan Jahn, who gave a
witness statement on Saturday 12Aprii2015, said to me that when she became a resident at

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Holland House: 1) Program Manager Barlow warned her not to talk to me and to stay away
from me, and that Shelley also warned her to stay away from me. 2) That Shelley also talked
to the other residents, about staying away from me because of my threatening and intimidating
manner, etc. 3) That Barlow and Shelley were pressuring her to agree with them that | was
being threatening and intimidating to her, etc.

25. I state a claim under 42 U.S.C. § 3604(b), 42 U.S.C. § 3617(Including 24 C.F.R. §
100.400(a)(b)(c)(2)(4-6)), 42 U.S.C. § 1985(3), 42 U.S.C. § 1986, 42 U.S.C. § 2000d et seq, and
Hostile Housing Environment, that on Tuesday 28April2015, Program Manager Barlow, violated
the Anti-Retaliation Provision, when she left under my room door, a note with attached

photocopies of a racially discriminatory rental listing that she was steering me towards, of a
cabin with no indoor plumbing, a woodstove for cooking and heating. | confronted Barlow
about the rental listing and told her I would fax the racially motivated photocopies to the
|.H.R.C. Investigator.

26. I state a claim under 42 U.S.C. § 3617(Including 24 C.F.R. §§ 100.400(a)(b)(c)(2)(4-6), 42
usc. § 1985(3), 42 U.S.C. § 1986, 42 U.S.C. § 42 U.S.C. § 2000d et seq, 28 U.S.C. § 4101(1)(2),
and Hostile Housing Environment, Program Manager Barlow violated the Anti-Retaliation
Provision, when she retaliated against me for contacting the I.H.R.C., when on Saturday
02May2015, | was informed by T.1P.S. Trestle Creek Community/Holland House Caretaker
Tammy Johnson, that Program Manager Barlow, has talked to her as well as to the other
residents throughout the T.I.P.S. Trestle Creek Community/Holland House property, saying that
| am crazy, that | have some kind of mental disease that | am taking medication for, and for the
Caretakers as well as the residents to not talk to me and to stay away from me
27. | state a claim that Shyrelle Johnson, daughter of T.I.P.S. Trestle Creek property Caretaker,
Tammy Johnson, said that she was present with her mother in Program Manager Barlow’s
office, when Barlow spoke to Tammy Johnson about me.
28. I state a claim under 42 U.S.C. § 3604(b), 42 U.S.C. § 3617, 28 U.S.C. § 4101(1)(2), that the
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Anti-Retaliation Provision was violated by then T.I.P.S. Participant/Holland House resident
Bonnie, in a witness statement given on Monday 11May2015, by former T.!.P.S. Participant
Veda : “Bonnie said that you were crazy, and she was pressuring me to stay
away from you. When | told Bonnie that | make up my own mind about you, she and Shelley
went after me. They kept after me until | moved out of Holland House(June 2014).”

29. I state a claim under 42 U.S.C. § 3617(including 24 C.F.R. §§ 100.400(a)(b)(c)(2)(4-6)), 42
U.S.C. § 1985(3), 42 U.S.C. § 1986, that on O8July2015, T.I.P.S. Board of Directors President
Ambrosaini, violated the Anti-Retaliation Provision, when she said to me during a phone call,
that she did not respond to my letters of complaint because she is not responsible for the
actions of Program Manager Barlow and the others, because | did not ask her for help in my

letters of complaint, so she saw no reason to intervene to stop the discrimination, etc........

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REQUEST FOR RELIEF:

I state a claim respectfully, asking that | be made whole for the intentional harm done to me by
Program Manager Barlow and her co-conspirators, for violations of the Anti-Retaliation
Provision, depriving me of my civil rights as a Participant in the T.I.P.S. Transitional Housing
Program because of my race. | ask relief of $200,00.00, in damages under 24 C.F.R. §
100.7(a)(b), 42 U.S.C. § 1986, 42 U.S.C. § 1981(a), 42 U.S.C. § 1982,601 of Title VI, 42 U.S.C. §
2000d et seq ; $200,000.00, in punitive damages, under 24 C.F.R. § 100.7(a)(b), 42 U.S.C. §
1986, 42 U.S.C. § 1981(b), 42 U.S.C. § 1982, 601 of Title VI, 42 U.S.C. § 2000d et seq, for
violations of the Anti-Retaliation Provision against the Board of Directors, and Board of
Directors President Ambrosaini, for their reckless disregard and knowledge of my Constitutional
and Civilr Rights being violated by Program Manager Barlow nad her co-conspirators, and doing
nothing to stop it, etc., because of my race. ; Attorney's fees under 42 U.S.C. § 1988(b) and 42

U.S.C. § 3613(c)(2).

Josephine Guion, Pro Se

27April2018

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TIO N. iF

The undersigned declares under penalty of perjury that he/she is the plaintiff in the above
action, that he/she has read the above complaint, and that the information contained therein is true
and correct. 28 U.S.C. §1746; 18 U.S.C §1621.

Executed at FayGTIZ) on 27 APL 207°
(Location) (Date)

Signature
HAprose\civit.gui __ SUBSCRIBED AND SWORN TO BEFORE ME

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oA Cuca
NOTARY PUBLIC

DEBRA S BOWEN

  
  

Notary Public
State of idaho

My Gornmission Expires Sofiele {

 
